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                    6
                                                        UNITED STATES DISTRICT COURT
                    7
                                                  DISTRICT OF NEVADA, SOUTHERN DIVISION
                    8
                                                                    ***
                    9
                        AARON DAWAYNE ZIMMERMAN,                      CASE NO. 2:18-cv-783-JAD-BNW
                   10
                                           Plaintiff,                 STIPULATION AND ORDER FOR
                   11                                                 DISMISSAL WITH PREJUDICE
                                  vs.
                   12
                      DENISE AGUILAR, in her individual
                   13 capacity; DAVID P. WELLS, in his individual             ECF No. 38
                      capacity,
                   14
                                   Defendants.
                   15

                   16            IT IS HEREBY STIPULATED and AGREED between Defendants Denise Aguilar and
                   17 David P. Wells, by and through their attorneys, Robert W. Freeman, Esq., of LEWIS BRISBOIS

                   18 BISGAARD & SMITH, LLP, and Plaintiff Aaron Dawayne Zimmerman, by and through their
                   19 counsel, Travis Barrick, Esq, of GALLIAN WELKER & BECKSTROM, LC, that all of

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LEWIS
BRISBOIS
BISGAARD
& SMITH LLP             4823-2342-6496.1
ATTORNEYS AT LAW
                        Case 2:18-cv-00783-JAD-BNW Document 39
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                    1 Plaintiff’s claims and causes of action against Defendants in the above-entitled action shall be

                    2 dismissed by settlement agreement between the parties, with prejudice, each party to bear their

                    3 own attorney’s fees and costs.

                    4    DATED this 9th day of July, 2020.                  DATED this 9th day of July, 2020.

                    5    GALLIAN WELKER & BECKSTROM, LC                     LEWIS BRISBOIS BISGAARD SMITH LLP
                    6

                    7    /s/ Travis N. Barrick                              /s/ Robert W. Freeman
                         TRAVIS N. BARRICK                                  ROBERT W. FREEMAN, JR.
                    8    Nevada Bar No. 9257                                Nevada Bar No. 3062
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                    9    Las Vegas, Nevada 89104                            Las Vegas, Nevada 89118
                         Attorneys for Plaintiff                            Attorneys for Defendants
                   10

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                   12
                                                                    ORDER
                   13
                                           IT IS SO ORDERED.
                   14            Based on the parties' stipulation [ECF No. 38] and good cause appearing, IT IS
                                 Dated this ___ day of ______________, 2020.
                         HEREBY ORDERED that THIS ACTION IS DISMISSED with prejudice, each side to
                   15
                         bear its own fees and costs. The Clerk of Court is directed to CLOSE THIS CASE.
                   16
                                                                    _________________________________
                   17                                               ______________________________________
                                                                    U.S. District
                                                                       U.S.       Judge Jennifer
                                                                            DISTRICT    COURTA.    Dorsey
                                                                                                 JUDGE
                   18                                               Dated: July 9, 2020

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BRISBOIS
BISGAARD
& SMITH LLP
ATTORNEYS AT LAW        4823-2342-6496.1                                2
